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               AFFIDAVIT IN SUPPORT OF A CRIMINAL COMPLAINT

       I, Richard E. Connors, being first duly sworn, hereby depose and state as follows:

                     INTRODUCTION AND AGENT BACKGROUND

       1.      I am employed as a Special Agent with the United States Department of Justice’s

Bureau of Alcohol, Tobacco, Firearms and Explosives (“ATF”) assigned to the Milwaukee Field

Office since October 2015. I have received training at the Federal Law Enforcement Training

Center in Glynco, Georgia. I attended the Criminal Investigator Training Program and ATF’s

Special Agent Training Program. Prior to becoming a Special Agent with the ATF, I received two

bachelor’s degrees from Northern Illinois University in the fields of Sociology and International

Relations. I received a master’s degree from Northern Illinois University in the field of American

Government.

       2.      I have received training in the investigation of firearm and drug trafficking. Based

on my training, experience, and participation in trafficking investigations, I know the following:

       a.      I have experience conducting street surveillance of individuals engaged in firearm

               and drug trafficking. I have participated in the execution of numerous search

               warrants where drugs, firearms, ammunition, and magazines have been seized;

       b.      I know that firearm and drug traffickers often use electronic equipment to conduct

               these operations;

       c.      I know that firearm and drug traffickers commonly have in their possession, and at

               their residences and other locations where they exercise dominion and control,

               firearms, ammunition, and records or receipts pertaining to such; and

       d.      I have received training in the identification of machinegun conversion devices,




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               which convert a semi-automatic firearm into a fully-automatic firearm, subject to

               the National Firearms Act.

       3.      The information set forth in this affidavit comes from my personal involvement in

this investigation, along with information provided to me by other law enforcement officers.

       4.      This affidavit is submitted for the limited purpose of establishing probable cause to

believe that on or about March 15, 2021, in the State and Eastern District of Wisconsin, Teshae

Hanna (DOB: 09/23/1999) committed violations of 18 U.S.C. § 922(o) (unlawful possession of an

unregistered machinegun) and 26 U.S.C. §§ 5861(c) and 5845(b) (possession of a firearm made in

violation of the National Firearms Act), for the issuance of a criminal complaint.

                                      PROBABLE CAUSE

       5.      In March 2021, case agents obtained law enforcement reports about Teshae

Hanna’s prior arrests, which revealed that he was arrested on an outstanding bench warrant on

November 24, 2020, which led to the recovery of heroin, cocaine, and a firearm. On November

18, 2020, the Dane County Sheriff’s Department entered a bench warrant for the arrest of Teshae

Hanna for failing to appear for Dane County Case No. 2020CF000928, which charged Teshae

Hanna with committing an armed robbery. On November 24, 2020, law enforcement officers

assigned to the Milwaukee Police Department’s Special Investigations Division and Tactical

Enforcement Unit (TEU) went to the address of 1109 North 18th Street, Apartment 910,

Milwaukee, Wisconsin to locate Teshae Hanna.

       6.      During the investigation, law enforcement officers contacted the lessee of the

apartment at the front door. While standing at the front door of Apartment 910, law enforcement



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officers observed Teshae Hanna standing in the bedroom wearing only underwear and attempting

to get dressed. Law enforcement officers then entered the apartment and arrested Teshae Hanna.

During the arrest and while in the bedroom, Teshae Hanna asked the officers to grab his jacket,

shoes, money, and three cellular phones.

       7.      A police officer spoke to the lessee of Apartment 910, and the lessee provided law

enforcement officers with consent to search the apartment.

       8.      During the search, law enforcement officers located a clear plastic bag on the floor

in the bedroom. Closer examination of the clear plastic bag revealed that it contained two clear

plastic bags with suspected heroin and with suspected cocaine. Officers also located a silver-over-

black Kahr Model CW40 .40 caliber semi-automatic handgun bearing serial number FF1315

underneath the mattress in the same bedroom. An officer later performed a field test on the

suspected heroin, which tested positive for opiates and fentanyl for a total weight of 1.0 gram, and

a field test on the suspected cocaine, which tested positive for cocaine with a total weight of 3.0

grams. I am aware that the bedroom where the suspected drugs and firearm were located in was

the same as the bedroom in which Teshae Hanna was arrested and where his clothing, money, and

three cellular phones were located. Based upon training, experience, and the investigation to date,

including the weight of the cocaine and the lack of instruments used to ingest it, case agents believe

that the cocaine recovered from the bedroom where Teshae Hanna was arrested was for street-

level distribution and not personal use.




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wood floor. Three of the firearms appear to be Glock handguns with conversion devices affixed to

the back plate of the handgun. These conversion devices have the ability convert a semi-automatic

firearm into a fully-automatic firearm, allowing the firearm to fire multiple rounds of ammunition

with a single pull of the trigger, consistent with the definition of a “machinegun” as defined in 18

U.S.C. § 921(a)(23) and 26 U.S.C. § 5845(b).




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       14.      A photograph of the Glock handgun with the conversion device recovered from the

McDonald’s on March 15, 2021 is provided below.




       15.      On March 16, 2021, a police officer of the Milwaukee Police Department test fired

the Glock pistol bearing serial number XMW834 with the attached conversion device. The officer

observed the conversion device attached to the rear back plate of the firearm, consistent with a

machinegun. The officer loaded two unfired cartridges into the firearm and conducted a single pull

of the trigger. Both cartridges discharged with the single pull of the trigger—in accordance with

the definition of a “machinegun” as defined in 18 U.S.C. § 921(a)(23) and 26 U.S.C. § 5845(b).


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       16.      I also know that a “machinegun” is a firearm subject to the National Firearms Act,

which must be registered in the National Firearms Registration and Transfer Record. Based on

records maintained by the ATF, Teshae Hanna was not registered to possess a machinegun as of

the date of the offense.

                                         CONCLUSION

       17.      Based on the information above, I submit that there is probable cause to believe

that Teshae Hanna has violated 18 U.S.C. § 922(o) (unlawful possession of an unregistered

machinegun) and 26 U.S.C. §§ 5861(c) and 5845(b) (possession of a firearm made in violation of

the National Firearms Act).




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